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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


DEBORAH THERIOT                                        *      CIVIL ACTION NO.

VERSUS                                                 *      JUDGE

THE BUILDING TRADES UNITED
PENSION TRUST FUND aka
THE PENSION FUND                                       *      MAGISTRATE

* * * * * * * * * * * * * * * * * * * * * * * * *******

                                          COMPLAINT

       COMES NOW, Deborah Theriot, (hereafter, “Plaintiff”) appearing herein through

undersigned counsel, who states as follows:

                                                  1.

       Plaintiff is an individual of the full age of majority, and a resident of Gretna, State of

Louisiana.

                                                  2.

       Made Defendant herein is The Building Trades United Pension Trust Fund, also known as

The Pension Fund (“Fund”). The Fund is an employee benefit plan within the meaning of the

Employment Retirement Income Security Act of 1974 (“ERISA”) §§ 3(2), (3) and (37), and 502

and 515. The Fund maintains offices at 500 Elm Grove Road, Elm Grove, Wisconsin 53122-0530.

                                                  3.

       The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. 1331 and 28 U.S.C.

1332. These sections give the district court jurisdiction over actions that arise under the laws of

the United States and the Employee Retirement Income Security Act of 1974 (“ERISA”) and

actions that arise under diversity jurisdiction, 29 U.S.C. 1132(e)(1) and 1132(f). These sections



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provide the district courts with jurisdiction to hear civil actions brought to recover benefits due

under the terms of an employee welfare benefit plan and/or to address failures to provide

required notices and information related to the particular benefit plan at issue and to address

breaches of fiduciary duties in connection with benefit plans. The Eastern District of Louisiana is

the proper venue for this action pursuant to 28 U.S.C. 1391 and 29 U.S.C. 1132(e)(2).

                                 BACKGROUND OF CLAIMS

                                                 4.

       At all material times, Mrs. Audry L. Hamann was a survivor beneficiary under the

pension fund of her late husband, Robert A. Hamann. Plaintiff is the daughter and designated

beneficiary of Mrs. Hamann under the provisions of the pension benefit plan at issue in this case.

                                                 5.

       On January 11, 2017, Mrs. Hamann applied for the Post-Retirement Survivor Benefit

(“Survivor Benefits”) pursuant to the pension fund. According to the plan benefit illustration

sheet, under “Elective Lump Sum Benefit,” the sheet states:

               You, the survivor, may instead elect to receive the benefit as an actuarially
               equivalent lump sum. If you initially elect a monthly benefit payment,
               you may elect at any time in the future to receive the remainder of the
               Post-Retirement Survivor benefit as a lump sum. (emphasis added)

                                                 6.

   By letter dated March 1, 2017, Mrs. Hamann received notice from The Fund that her January

11 application for Survivor Benefits monthly annuity had been approved. In the same March 1

letter, Mrs. Hamann was advised that, “[a]t any time in the future, you may elect to receive a

lump sum final payment of this benefit by contacting this office.” As of March 1, 2017, the lump

sum would have been $71,399.64.




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                                                7.

   Mrs. Hamann had failed to check the application box indicating that she desired a lump

sum benefit on her original application form. Mrs. Hamann then received a Change Form

from The Fund and corrected her omission by electing that a lump sum payment be made.

                                                8.

   The Fund acknowledged receipt of Mrs. Hamann’s letter and Change Form. During the

pendency of The Fund’s processing of Mrs. Hamann’s request for payment in a lump sum, Mrs.

Hamann passed away. On April 18, 2017, The Fund sent a letter to Plaintiff’s brother, Carl

Panebiango, advising him that The Fund had been notified of his mother’s death and that “no

further benefits are payable…”. Also on April 18, 2017, The Fund sent a letter to Plaintiff stating

as follows:

               Plan documents state that the Joint and Survivor benefit is payable for the
               survivor’s lifetime. Therefore the payment dated April 1, 2017 was the
               final payment Mrs. Hamann was eligible to receive from this Fund. The
               paperwork Mrs. Hamann submitted for a Lump Sum payment was for
               May 1, 2017 and would not be payable due to the fact that she was not
               living at that time.

                                                9.

    COUNT I: Claim for Distribution of Benefits pursuant to 29 U.S.C. § 1132(a)(1)(B)

   The Fund unreasonably refuses to honor Mrs. Hamann’s application for lump sum benefits

which she completed and submitted before her death. Applicable plan terms call for The Fund

to pay a lump sum survivor benefit at any time that the Survivor Beneficiary may elect. Mrs.

Hamann validly elected to receive her Survivor Benefit in a lump sum prior to her death. The

Fund’s refusal to honor this request constituted a clear breach of The Fund’s plan express terms.




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                                                10.

    In rendering its decision on Mrs. Hamann’s election form, The Fund acted under a conflict

of interest because the denial of benefits directly inured to the financial advantage of The Fund,

which served claims administrator and plan sponsor. This conflict compromised The Fund’s

duty to provide a full and fair review of Mrs. Hamann’s claim. The Fund further denied the

opportunity for full and fair review by deciding Mrs. Hamann’s claim without providing Mrs.

Hamann or her representative an opportunity to be heard, without conducting an administrative

review, without providing a copy of The Fund’s pension plan documents or summary plan

description (SPD) and without ERISA compliant notice of the denial to Mrs. Hamann or her

representatives.

                                                11.

       In denying Mrs. Hamann’s claim for lump sum payment of her survivor benefit, The

Fund discriminated against Mrs. Hamann’s claim in a manner that had not been applied toward

other survivor beneficiaries.

                                                12.

   Complainant submits that The Fund’s actions should be reviewed under a de novo standard

of review. Alternatively, The Fund’s refusal to honor Mrs. Hamann’s election of the lump sum

payment completed and executed prior to her death, without a full and fair hearing, without

providing copies of applicable plan documents despite request and in derogation of express plan

terms constitutes an abuse of The Fund’s discretion. As a result of The Fund’s refusal to honor

Mrs. Hamann’s election of the lump sum payment, Plaintiff remains without the substantial

benefits to which she is entitled.




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                                                 13.

          COUNT II: Claim for Failure to Produce Requested Information under
                                  29 U.S.C. § 1132(c)

   The Fund offered post-retirement survivor benefits to eligible applicants and required that

applicants designate a beneficiary. This designation expressly entitles the beneficiary to “Death

Benefits or remaining Ten Year Certain Benefits” of which the Plaintiff herein seeks to avail

herself. To identify the coverage terms, Plaintiff requested a copy of the plan documents,

including a complete copy of the plan agreement, under ERISA, 29 U.S.C. § 1132(c). To date,

The Fund has failed to provide the requested documents.

                                                 14.

   Plaintiff asserts that she is entitled to penalties for The Fund’s failure to deliver to her the

appropriate formal written and signed plan documents, as is required under 29 U.S.C. § 1001 et

seq., thereby triggering the penalties available under 29 U.S.C. § 1132(c).

                                                 15.

       The Fund’s refusal to provide the plan documents deprived Plaintiff of knowledge of key

plan provisions necessary to the handling of her claim and constituted a breach of fiduciary duty

by the plan administrator as records custodian for the plan.

                                                 16.

   COUNT III: Claim for Breach of Fiduciary Duties pursuant to 29 U.S.C. § 1132(a)(3)

   In the alternative, The Fund’s breach of fiduciary duties owed to Plaintiff under ERISA is

three-fold. Firstly, The Fund breached its fiduciary duties arising out of its failure to comply

with ERISA procedures, including failure to make the SPD available to Plaintiff to reasonably

apprise her of her rights and obligations under the plan. On information and belief, The Fund

drafted the plan documents as well as the SPDs. The Fund therefore had complete discretion to

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interpret the plan documents and had complete discretion with respect to decision-making on

plan benefit claims.

                                                 17.

   Secondly, given its authorship of all applicable plan documents and the SPD, The Fund

further violated fiduciary duties owed to Plaintiff by operating under a conflict of interest in that

it was the entity that was charged with deciding whether benefits should be paid, and was the

entity that was to pay said benefits. This dual role resulted in a conflict of interest because The

Fund was entrusted with interpretation of the plan documents where it stands to benefit

financially from an adverse benefit determination.

                                                 18.

       In the event that the plan terms of The Fund pension plan, which have not yet been

provided to Plaintiff, support the position taken by The Fund herein, then the Fund violated

fiduciary duties owed to Mrs. Hamann by failing to disclose these limitations upon the lump sum

recovery right in the SPD and by preparing plan illustrations and application forms that misled

Survivor Beneficiaries in the belief that lump sum payment of survivor benefits would be

available at any time.

                                                 19.

       Thirdly, in the event that The Fund is statutorily prohibited from making lump sum

payments, or that such payments are subject to relevant statutory restrictions, the representation

in the plan documents indicating the possiblility to “elect to receive the benefit as an actuarially

equivalent lump sum” under the heading “Elective Lump Sum Benefit” where such election or

benefit is not permitted by law constitutes a breach of The Fund’s fiduciary duties under ERISA

to fully and accurately disclose plan terms.



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                                                20.

         COUNT IV: Violation of Duty of Good Faith and Fair Dealing pursuant to
                                   La. R.S. 22:1973

       Plaintiff asserts that she is entitled to penalties, attorney’s fees and punitive damages as

The Fund’s conduct in denying her benefits as the listed beneficiary is arbitrary and capricious

and without probable cause, in violation of La. R.S. 22:1973. Additionally, The Fund’s denial

was not in good faith as it did not provide Plaintiff with an opportunity for administrative review

based on its language in correspondence to Plaintiff indicating that any claim for remaining

benefits would be denied.



       WHEREFORE, Plaintiff prays, after all legal delays and due proceedings, that there be

judgment rendered herein in favor of Plaintiff Deborah Theriot and against Defendant The

Building Trades United Pension Trust Fund declaring that The Fund is liable to Plaintiff for the

sum of $71,399.64, and to pay all damages and penalties due Plaintiff, including attorney’s fees,

damages, penalties, interest and all costs of these proceedings, with legal interest thereon from

date of demand.

                                      Respectfully submitted,

                                      TAGGART MORTON, LLC


                                      s/Perry R. Staub, Jr. ____________________
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